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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                      In re:                        Chapter 11

             AKORN, INC., et al.,                   Lead Case No. 20-11177 (KBO)
                                                    Jointly Administered
                    Debtors.
                                                    Honorable Karen B. Owens


ORDER GRANTING MOTION OF 1199SEIU BENEFIT FUNDS, DC47 FUND AND SBA
 FUND FOR LEAVE TO FILE OBJECTION (DI #553) TO THE DEBTORS’ MOTION
   TO SELL (DI #18) AND CONFIRMATION OF THE DEBTORS’ PLAN (DI #258)
                              UNDER SEAL


       Upon consideration of the motion to file 1199SEIU Benefit Funds, DC47 Fund and SBA

Fund’s Objection to the Debtors’ Motion to Sell (DI #18) and Confirmation of the Debtors’ Plan

(DI #258) under seal (the “Motion”), the Court having reviewed the Motion and all related

pleadings and having heard the statements of counsel with respect thereto; the Court having

determined that notice of the Motion was reasonable and sufficient under the circumstances and

that no further notice is required; and that the legal and factual bases set forth in Motion and at the

Hearing establish sufficient cause for the relief granted herein; and for the reasons stated by the

Court at that Hearing,

       IT IS HEREBY ORDERED as follows:

       The Motion is GRANTED, as set forth herein.

       The movants are GRANTED LEAVE to file the Sealed Documents under seal or

redaction consistent with the request in the Motion.

       The movants may provide a copy of the Sealed Documents to the U.S. Trustee, counsel

for the Official Committee of Unsecured Creditors and any other party that is a signatory on the

Protective Order.
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         The movants shall file a redacted document consistent with this order under cover of

“Notice of Filing of Proposed Redacted Version of 1199SEIU Benefit Funds, DC47 Fund and

SBA Fund Objection to the Debtors’ Motion to Sell (DI #18) and Confirmation of the Debtors’

Plan (DI #258)” within three (3) days of the date of this order.




Dated:                                                       _____________________________

                                                             The Honorable Karen B. Owens
                                                             United States Bankruptcy Judge




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